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                                                                                            1/11/2021
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
RICARDO ORTIZ ORTIZ and ARIOSTO                                :
FAJARDO, individually and on behalf of                         :
others similarly situated,                                     :
                                                               :
                           Plaintiffs,                         :
                                                               :   ORDER
         -v-                                                   :
                                                               :   19-CV-7380 (LJL) (JLC)
ABITINO’S PIZZA 49th STREET CORP.                              :
d/b/a/ ABITINO’S PIZZERIA, et al.,                             :
                                                               :
                           Defendants.                         :
---------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        On January 8, 2021, the parties submitted their proposed settlement papers in this FLSA

case for the Court’s review (Dkt. No. 40); however, the proposed settlement agreement attached

as Exhibit A has not been executed by the parties (Dkt. No. 40-1). Accordingly, the parties are

directed to file an executed version of the agreement on the docket.

        SO ORDERED.
Dated: January 11, 2021
       New York, New York
